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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 GW HOLDINGS GROUP, LLC, a New York
 Limited Liability Company,                                Civil Action No.: 18-cv-4997-JFK

                                     Plaintiff,
                 v.                                                CLERK’S
                                                           CERTIFICATE OF DEFAULT
 CRUZANI, INC., f/k/a US HIGHLAND, INC., a
 Nevada Corporation,

                                     Defendant.



       I, Ruby J. Krajick, Clerk of Court of the United States District Court for the Southern

District of New York, do hereby certify that this action was commenced on June 5, 2018 with the

filing of a summons and complaint, a copy of the summons and complaint was served on

defendant, Cruzani, Inc., f/k/a US Highland, Inc., by personally serving the Registered Agent, on

June 19, 2018, and proof of service was therefore filed on June 27, 2018, Doc. #10. On April 6,

2020, Defendant’s former counsel filed a motion to withdraw as counsel, Doc. #59, 60, 61. On

September 29, 2020, the Court issued an Order which granted Defendant’s former counsel’s

motion to withdraw, and stayed this matter for thirty (30) days for Defendant to retain new

counsel, Doc. #77. Defendant failed to appear by Counsel at a Court ordered conference on

November 10, 2020. Subsequently, on or about November 17, 2020, the Court Ordered that if

“Defendant, having a last known business address at 208 East 51st Street #208, New York, New

York 10022, does not appear in this action through new counsel by November 30, 2020, this

Court shall Ordered entry of a Default Judgment against Defendant”, Doc. #81. Defendant once

again failed to appear at the November 30, 2020 conference by counsel. On December 1, 2020,

Plaintiff’s counsel filed a letter with the Court requesting permission to move for default, Doc.
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#83. On December 10, 2020 the Court endorsed Plaintiff’s letter, granting Plaintiff permission to

move for default judgment, Doc. #84.

       I further certify that the docket entries indicate that the defendant failed to appear by

counsel within thirty (30) days. The default of the defendant is hereby noted.


Dated: New York, New York

        ____________,
         January 5    2021


                                                      RUBY J. KRAJICK
                                                        Clerk of Court



                                                    By:
                                                            Deputy Clerk
